                                                                                                                                                             FILED
                                                                                                                                                 DALLAS COUNTY
Case 22-03041-mvl Doc 2 Filed 04/21/22                                      Entered 04/21/22 17:05:51                 Page 1 of 12               11/6/2019 9:11 AM
                                                                                                                                                    FELICIA PITRE
                                                                                                                                                 DISTRICT CLERK

                                                                                                                                      Veronica Vaughn
                                         CAUSE NO.
                                               NIO. DC-19-08188



       PHILLPS & MURRAY, P.C.,
GLAST, PHILLIPS          P.C.,                           $                               IN THE DISTRICT COURT
                                                                                         IN
                                                         $
         Plaintiff;
         Plaintiff;                                      $
                                                         $
v.
V.                                                       $
HOSSEIN        S.
               S.   NAMDARKHAN                           $
(a/k/a
(a/k/a         Namdarkhan or
       Shawn Namdarkhan       or                         $
                   individually and in
Shawn Namdar) individually           in his
                                        his              $                                l93rd
                                                                                          193rd    JUDICIAL DISTRICT
capacities as
capacities as President,  Director and/or
              President, Director   andlor               $
                                                        @mmmmmmmmmmmmmmmm




Managing Member of
Managing              of Defendants
                         Defendants                      $
Kid's Depot,
Kid’s         Inc. and SMN LLC;
      Depot, Inc.              LLC;                      $
KID,S DEPOT, INC.;
KID’S                          LLC,
                  INC.; SMN LLC,                         $
    MARJANEH NAMDAR
and MARJANEH         NAMDAR (a/k/a
                                 (alk/a                   $
MAzuANEH NAMDARKHAN or
MARJANEH            oT                                    $
MARGE NAMDARKHAN)                                         $
                                                          $
         Defendants.
         Defendants.                                      $                              DALLAS COUNTY,
                                                                                                COLINTY, TEXAS



                            PLAINTIFF'S FIRST AMENDED
                            PLAINTIFF’S       AMENDED PETITION



         Now comes
         Now       Glast, Phillips
             comes Glast,          & Murray,
                          Phillips & Murray, P.C., Plaintiff herein,
                                             P.C., Plaintiff herein, and
                                                                     and complains of
                                                                         complains of

TJncaain'NTom.lorLhqn        (ql\¿lq   Qharttn  NTa-ão.LLâñ                            QLo.tr-    J\To-.|o.\     i-.{.i.ri.lttolltr      o-rl   i-
rrvÙÙvrrr rrsrrrsurru¡g¡¡    \wrvs     urrsvvrr lì4lrluslr\rlsrl                 ^r
                                                                                 vr    ullavvl¡   t\4r¡rvgl,,/   tl¡g¡Ytgg4trJ           ø¡¡g   ur



his            as President,
    capacities as
his capacities                         Director
                                      and/or
                  President, Director and/or                                  Managing Member
                                                                              Managing        of Defendants
                                                                                       Member of            Kid's
                                                                                                 Defendants Kid’s

       Inc. and
Depot, Inc.
Depot,      and       SMN LLC (“Defendant
                              ("Defendant Namdar”
                                          Namdar" herein); Kid's Depot,
                                                  herein); Kid’s Depot, Inc. ("Defendant
                                                                        Inc. (“Defendant

Kid's Depot”
Kid’s Depot" herein);
             herein);               LLC (“Defendant
                               SMN, LLC
                               SMN,     ("Defendant SMN”
                                                    SMN" herein)
                                                         herein) and
                                                                 and Marjaneh Namdar

(alWa
(a/k/a   Marjaneh
         Marj      Namdarkhan or
              aneh Namdarkhan                      ("Defendant Marjaneh”
                              or Marge Namdarkhan) (“Defendant Marjaneh" herein)
                                                                         herein) and

for such cause
for                 of action
                    of              respectfully show
                       action would respectfully                                this
                                                                                this   Honorable Court
                                                                                       Honorable Court as follows:
                                                                                                       as follows:




                                                                                                                         EXHIBIT "A"
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                                                   I.
                                                   HG



                                 DISCOVERY CONTROL PLAN
                                 DISCOVERY

          Plaintiff intends that
          Plaintiff intends      discovery be
                            that discovery be conducted under Level   of the Texas
                                                                    2 Ofthe
                                                              Level 2              Rules of
                                                                             Texas Rules 0f


Civil Procedure and
Civil Procedure     affirmatively pleads
                and afﬁrmatively         that this
                                  pleads that      suit
                                              this suit       is not
                                                              is not governed by the expedited-
                                                                              by the expedited-

actions process
actions         in Texas Rule
        process in                    of Civil
                         Rule 0f Civil Procedure
                                       Procedure 169         Plaintiff seeks
                                                 169 because Plaintiff seeks monetary

damages in        of $ 100,000 and other
        in excess 0f$100,000       other relief.
                                         relief.




                                                   il.
                                                   II.



                                         RELIEF SOUGHT
          Plaintiff
          Plaintiff seeks   damages and relief setting aside
                                        relief setting aside the transfer of
                                                             the transfer           of Defendants
                                                                             assets of
                                                                          0f assets    Defendants


from Defendant Kid's       t0 Defendant SMN that
               Kid’s Depot to               that was effected on June 8,
                                                     effected 0n      8, 2015
                                                                         2015.



                                                  uI.
                                                  HL
                                               PARTIES

          3.1
          3.1    Plaintiff is
                 Plaintiff    a professional
                           is a              corporation with
                                professional corporation      its principal
                                                         with its           place of
                                                                  principal place 0f business


located at 14801
located at       Quorum Drive,
           14801 Quorum        Suite 500,
                        Drive, Suite 500, Dallas       75254.
                                          Dallas Texas 75254.


          3.2
          3.2    Defendant Hossein
                 Defendant Hossein Namdarkhan (alkla Shawn
                                   Namdarkhan (a/k/a       Namdarkhan 0r Shawn
                                                     Shawn Namdarkhan                 or
Namdar), individually and
Namdar), individually and          in his capacities
                                   in his               President, Director
                                                     as President,
                                          capacities as            Director and/or
                                                                            and/or Managing


Member 0f Defendants Kid's
       of Defendants       Depot, Inc.
                     Kid’s Depot, Inc. and     LLC, is
                                       and SMN LLC,    a resident
                                                    is a          of Dallas
                                                         resident 0f Dallas County


               resides. Defendant
Texas where he resides. Defendant Namdar has been served     filed
                                                  served and ﬁled            his original
                                                                             his original   answer

herein.
herein:


          3.3
          3.3              Kid's Depot,
                 Defendant Kid’s Depot?       Inc.
                                              Inc. is a Texas corporation.
                                                   is a                    Service has
                                                              corpOrationg Service has been made


upon
upon Defendant
     Defendant Kid’s Depot by
               Kid's Depot    serving its
                           by serving its registered       Hossein S.
                                                     agent Hossein
                                          registered agent         S. Namdar
                                                                      Namdaru

Defendant Kid's
Defandant             has filed
          Kidas Depot has ﬁled         its original answer herein.
                                       its original        herein.



Plaintiffls
Plaintist First
            First Amended Petition w
                  Amended Petition   Page 2
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         3.4 Defendant
         34            SMN LLC
             Defendant SMN LLC is
                               is a Texas limited
                                  a Texas         liability gompany;
                                          limited liability company. Defendant

SMN has filed its
    has ﬁled      original answer herein“
              its original        herein.

         3.5
         3.5        Defendant Marjaneh
                    Defendant          Namdar (alkla
                              Marjaneh Namdar (a/k/a Marjaneh Namdarkhan
                                                     Marjaneh Namdarkhan              or Marge
                                                                                      01‘




Namdarkhan) is aa resident
Namdarkhan) is             of Dallas
                  resident 0f        County Texas
                              Dallas County       where she
                                            Texas where she resides
                                                            resides and may be served
                                                                            be served


at 5907 Park Lane,
at                 Dallas Texas.
             Lane, Dallas


                                                 IV.
                                                 IV.

              RESERVATION OF RIGHTS TO ADD ADDITIONAL PARTIES
              RESERVATION
        Plaintiff specihcally reserves
        Plaintiff speciﬁcally              right to
                                       the right
                              reserves the          add any
                                                 t0 add any additional parties who,
                                                            additional parties who, after
                                                                                    after


discovery,
discovery,     is shown t0
               is               wrongfully received
                        to have wrongfully          or been transferred
                                           received or                  any asset
                                                            transferred any       of or
                                                                            asset of    from
                                                                                     or from

Defendants.
Defendants.



                                                  V.
                                                  V.

                                               FACTS
         5.1
         5.1        Plaintiff is
                    Plaintiff    a Dallas-based law
                              is a                  firm which Defendant Namdar and
                                                law ﬁrm                         and his son,
                                                                                    his son,


Brad, retained for
Brad, retained     substantial legal
               for substantial       services in
                               legal services          of 2015.
                                              in March 0f       By June 2015 Plaintiff
                                                          2015. By           Plaintiff had


billed
billed Defendant        more than
       Defendant Namdar more              and Defendant Namdar had
                                  $50,000 and
                             than $50,000                      had received the
                                                                   received the


bills     had actual
      and had
bills and            knowledge of
              actual knowledge 0f their contents. At
                                  their contents.    the time
                                                  At the      of his
                                                         time 0f     receipt of
                                                                 his receipt 0f             these
                                                                                            these


invoices, Defendant
invoices,                         intended to
                           Namdar intended         additional work from Plaintiff
                                              seek additional
                                           t0 seek                                for which he
                                                                        Plaintiff for


     Plaintiff would
knew Plaintiff would charge. At the
                     charge. At     time he
                                the time he incurred                   intended to
                                                     these charges and intended
                                            incurred these                      to cause


additional legal
additional       work, he
           legal work,          knew that his total
                                     that his total income in 2015 would be
                                                           in 2015       be less than this
                                                                            less than this debt
                                                                                           debt,


His
His   total income
      total        for 2015
            income for 2015 was
                            was only $20,000. All
                                only $20,000. A11 of that income
                                                  0f that income was derived from
                                                                 was derived from his
                                                                                  his


                  Kid's Depot,
business known as Kid’s        Inc. which owned aa commercial
                        Depot, Inc.                           building in
                                                   commercial building in Tyler,
                                                                          Tyler, Texas


appraised 0n
appraised on the tax rolls
             the tax       of Smith
                     rolls 0f       County in
                              Smith County    2015
                                           in 201 5 at   value of
                                                    at a value          12,800.
                                                                  $ 1,3 12,800.
                                                               0f$1,3



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          5.2
          32           Knowing that
                               that he would b6
                                             be @xpegted to pay
                                                expected t0 pay for
                                                                for the
                                                                    the services akeady rendered
                                                                        servicss already


    those he
and those he would           insist upon in
                             insist upon in the
                                            the future
                                                future and knowing his            insufficient to
                                                                   his income was insufﬁcient  to

pay for the
pay for the services he had ordered,
            services he     ordered, 0n
                                     on June 8, 2015
                                                2015 Defendant Namdar transferred
                                                       8‘,                            of
                                                                                  all 0f
                                                                      transferred all


his interest in
his interest in                  Kid's Depot and/or
                       Defendant Kid’s       and/or caused Defendant Kid's
                                                                     Kid’s Depot to transfer all
                                                                                 to transfer all



of
0f    its assets, by
      its assets, by converting
                     converting that
                                that entity to a
                                     entity t0   limited liability
                                               a limited           company and
                                                         liability company and changing
                                                                               changing its
                                                                                        its



     t0 SMN LLC.
name to

          5.3
          5.3          Based upon
                       Based upon information and
                                  information and     belief, Plaintiff
                                                      belief, Plaintiff alleges        one or
                                                                                  that one
                                                                        alleges that          more of
                                                                                           or more 0f

Defendants Namdar,
Defendants         Kid's Depot,
           Namdar, Kid’s        andlor
                         Depot, and/or             SMN transferred
                                                       transferred to
                                                                   t0 Defendant         Marjaneh,
                                                                                        Marjaneh, or
                                                                                                  0r an


entity
entity she controls,
       she controls,         an interest
                             an interest   in Kid’s
                                           in Kid's Depot andlor SMN
                                                    Depot and/or     by
                                                                 SMN by          approximately
                                                                                 approximately March

2017.
2017.


          5.4
          5.4          Defendant Namdar
                       Defendant Namdar continued        to
                                        continued t0 demand services and
                                                     demand services         bitled for
                                                                         was billed
                                                                     and was        for

Plaintiffls services
Plaintiff’s services        on a monthly
                            0n a monthly basis
                                         basis as agreed. Yet
                                               as agreed. Yet Defendant Namdar failed to pay
                                                                               failed t0 pay

what was owed and            in
                             in January of 2016
                                January 0f 2016 Plaintiff filed suit
                                                Plaintiff ﬁled  suit against
                                                                     against Defendant Namdar and


     to recover
Brad to recover unpaid fees and
                unpaid fees and expenses. After numerous cross
                                expenses. After                and counterclaims
                                                         cross and counterclaims were

filed and
ﬁled  and several
          several motions for summary
                  motions for summary judgment
                                      judgment were granted in Plaintiffls
                                               were granted                favor
                                                               Plaintiff’s favor   in
dismissing
dismissing       all of
                 all 0f those
                        those claims, a jury trial
                              claims, ajury  trial commenced and Plaintiff
                                                                 Plaintiff obtained
                                                                           Obtained         a
                                                                                            a   unanimous

jury verdict
jury         against Defendant
     verdict against Defendant                    Brad in
                                              and Brad
                                       Namdar and      in the
                                                          the amount of $1§343a097.86.
                                                              amount 0f                That
                                                                        $1,343,097.86. That

verdict
verdict        reduced to
           was reduced      judgment dated
                          a judgment
                       t0 a                April 24,
                                     dated April     2018.
                                                 24, 2018.            A true
                                                                        true and correct copy
                                                                             and correct      of that
                                                                                         copy 0f that

judgment
judgment        is attached
                is          hereto marked
                   attached hereto        as Exhibit
                                   marked as         A and
                                             Exhibit A and is incorporated herein
                                                           is incorporated        for all
                                                                           herein for all

purposes
purposes.1




1
l

    Defendant
    Defendant has appealed
                  appealed this judgment to
                           thisjudgment     the Dallas
                                         to the        Court of
                                                Dallas Court of Appeals and has filed
                                                                                ﬁled a              bond.
                                                                                      a supersedeas bond.
That appeal is still
     appeal is       pending.
               still pending.




Plaintiff
Plaintiff‘ss First         Petition - Page 4
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                                                           VI.
                                                           VEO


                                              CAUSES OF ACTION:
                          FRAUDULENT TRANSFER
                                      TRANSFER UNDER §24.005
                                                     S24.00s
                       OF THE TEXAS BUSINESS & COMMERCE CODE

         6.1
         6.1        Plaintiff         that the
                              alleges that
                    Plaintiff alleges      the transfer/conversion                to   limited liability company
                                                                      a limited liability
                                               transfer/conversion t0 a


and the
and the    transfer,
           transfer,      ifif made,
                               made, from
                                     from Defendant Namdar or
                                                           0r the limited liability
                                                              the limited liability                  company to
                                                                                                     company t0


Defendant Marjaneh were
Defendant          were fraudulent    to
                                   as t0
                        fraudulent as                         at least Plaintiff as a creditor of
                                                              at least Plaintiff as a creditor of Defendant

Namdar because the Plaintiff
       because the Plaintiff’ss claim
                                claim arose        0r within
                                            before or
                                      arose before           a reasonable
                                                      Within a            time after
                                                               reasonable time after the
                                                                                     the


transfers/conversion were
transfers/conversion                  made and because Defendant Namdar
                                                                 Namdar made the transfer(s) with
                                                                             the transfer(s) with


actual intent
actual        to hinder,
       intent t0 hinder, delay, or defraud at
                         delay, or                      of his
                                              least one 0f
                                           at least            creditors and/or
                                                           his creditors                   did
                                                                         and/or because he did


not receive
not receive aa reasonably
               reasonably equivalent
                          equivalent value    exchange for
                                     value in exchange       in
                                                           the transfer(s)
                                                       for the transfer(s) and he was
                                                                           and he

        or was
engaged 0r was about
               about               to engage in
                                   t0 engage    a business
                                             in a          or a
                                                  business 0r   transaction for
                                                              a transaction for which the
                                                                                      the remaining


assets of the
assets 0f     debtor
          the debtor         were unreasonably
                                  unreasonably small in relation
                                               small in relation to  the business or
                                                                 1:0 the          0r transaction; or
                                                                                     transaction; 0r


he intended
he intended         to
                    t0 incur, or he
                       incur, 0r he believed or reasonably
                                    believed 0r            should have
                                                reasonably should      believed that
                                                                  have believed that he
                                                                                     he would


incur, debts
incur,                 his ability
                beyond his         to pay
                           ability t0        they became due.
                                          as they
                                      pay as             due.

         v.z
         Z a
         6.2        rlalrlull
                    Tì1 ^:-^¿:ff
                    rlaintiu       arrEBçs
                                   ^11^-^-
                                   alleges
                                             L1^^L
                                           rrraL the
                                           that
                                                     L1^    ,f---l-\
                                                 urg transféds)
                                                     f¿ilIsrgr\s/       wcre .----1
                                                                        were maue
                                                                        -------
                                                                             made   - t-
                                                                                      to an
                                                                                      ‘Lo
                                                                                             ?.,,'l-
                                                                                          an tnstoer,
                                                                                                      n    c  1
                                                                                                      l.,elen(]anl'
                                                                                             insider, Defendant


Namdar
Namdar retained possession and
       retained possession     control of
                           and control    the property
                                       0f the          transferred after
                                              preperty transferred       the transfer,
                                                                   after the transfer,


before the
before    the transfer
              transfer was made he
                       was made he knew
                                   knew                          of apotential lawsuit
                                                                of a potential lawsuit by      by Plaintiff,
                                                                                                  Plaintiff,   the
                                                                                                               the


transfer(s)/conversion
transfer(s)/conversi0n             were of substantially
                                   were 0f substantially         all 0f
                                                                 all of his assets and
                                                                        his assets and he
                                                                                       he was
                                                                                          was insolvent
                                                                                              insolvent         or
                                                                                                                0r


became insolvent shortly before
       insolvent shortly        or after
                         before 0r       the transfer(s)/conversion
                                   after the transfer(s)/c0nversi0n were made.




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Plaintiff’s First           Petition — Page
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                                                 vIL
                                                 VHD

                                    CAUSES OF ACTION:
                      FRAUDULENT TRANSFER
                                  TRANSFER UNDER §24.006
                                                 524.006
                                BUSINESS & COMMERCE CODE
                   OF THE TEXAS BUSII\ESS

       7.I
       7.1       The transfer
                     transfer   to
                                t0 SMN LLC was
                                           was fraudulent
                                               fraudulent because Defendants Namdar did
                                                                                    did

not receive
not receive a
            a reasonably equivalent value
              reasonably equivalent                  in
                                             exchange for
                                    value in exchange for the
                                                          the transfer and Defendant
                                                              transfer and


Namdar was insolvent
           insolvent at the time
                     at the      or he became insolvent
                            time 0r           insolvent as a result
                                                        as a        of the
                                                             result 0f the transfer.
                                                                           transfer.


       7.2
       7.2       The
                 The   transfer from
                       transfer from Namdar andlor Kid's
                                     Namdar and/or       Depot and/or
                                                   Kid’s Depot             LLC to
                                                                      SMN, LLC
                                                               andlor SMN,     t0


Defendant Marjaneh was fraudulent,
                       fraudulent,        if made,
                                          if                   Defendant Namdar did
                                                       because Defendant        did not
                                                                                    not receive
                                                                                        receive


a reasonably
a            equivalent value
  reasonably equivalent value in    in exchange
                                       exchange for
                                                for the transfer and
                                                    the transfer and he was insolvent
                                                                     he was insolvent at the
                                                                                      at the



time or he
time 0r    became insolvent
        he became           as aa result
                  insolvent as           of the
                                  result of the transfer.
                                                transfer. Furthermore.
                                                          Furthermore,                    ifif   Defendant

Marjaneh received; her
Marjaneh received  her transfer from Defendant
                       transfer from Defendant SW5
                                               SMN,                it is ineffective
                                                                   it    ineffective because
                                                                        is                   the
                                                                                     because the

transfer from Defendant Namdar/Kid’s
transfer                Namdar/I(id's Depot to Defendant SMN was fraudulent.
                                            t0 Defendant         fraudulent.


                                                 VilI.
                                                 VIII.


       Piaintiä  aiieges that
       Piaintiff alleges      Deienciant Namdar
                         that Defendant  Namciar acted in<iiviciuaiiy
                                                       individually          as weii as
                                                                                well as   in
                                                                                          in his agency
                                                                                             his agency


andlor official
and/or Ofﬁcial capacities  and roles
                capacities and roles with and with
                                          and for the     for
                                                  the other
                                                      other Defendants    effectuate
                                                            Defendants t0 effectuate      to
this/these
this/these fraudulent
           fraudulent transfer(s)
                      transfer(s) and accordingly,
                                      accordingly, is liable for
                                                   is liable          of the wrongs alleged.
                                                             for each 0fthe         alleged.


                                                 IX.
                                                 IX»


                                              REMEDIES
       As aa result
             result of the fraudulent
                    Ofthe             transfer(s), Plaintiff
                           fraudulent transfer(s), Plaintiff is entitled to
                                                             is entitled    any one
                                                                         t0 any        more of
                                                                                    or more
                                                                                one 0r      0f


the following:
the following:




                          Petition — Page
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Plaintiff’s First Amended Petition
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       (1)
       {1)       avoidance of the
                 avoidance 0f                 or 0biigati0n(s)
                                  transfer(s) 0r
                              the transfsﬁs}     obligation(s)          to
                                                                        t0 the        necessary m
                                                                               extent i’legessary
                                                                           the extent             to
       satis$z the
       satisfy                claim;
                   creditor's claim;
               the creditor's


       (2) an
       (2) an attachment or other
              attachment 0r other provisional
                                  provisional           remedy against the
                                                        remedy against     asset transferred
                                                                       the asset transferred or
                                                                                             0r
       other property of
       other property 0f the transferee in
                         the transferee               with the
                                        in accordance with     applicable Texas Rules
                                                           the applicable       Rules 0f           of
       Civil Procedure and
       Civil Procedure and the        Civil
                           the Civil Practice
                                     Practice         and Remedies Code
                                                      and               relating
                                                                   Code relating         to
                                                                                         t0 ancillary
                                                                                            ancillary
       proceedings; 0r
       proceedings; or

       (3)
       (3)     subject to
               subject    applicable principles
                       t0 applicable             of
                                     principles 0f equity
                                                   equity and     in
                                                          and in accordance with applicable
                                                                 accordance with applicable
       rules
       rules   of civil
               0f civil procedure:
                        procedure:

                 (A)
                 (A)   an injunction
                       an            against further
                          injunction against         disposition by
                                             further disposition    the debtor
                                                                 by the        or aa transferee,
                                                                        debtor 0r    transferee,
                 or both,
                 0r       of the
                    both, of the asset transferred or
                                 asset transferred    of other property;
                                                   0r 0f       property;

                 (B)
                 (B)   appointment of aa receiver
                       appointment 0f             to take
                                         receiver to             of the
                                                          charge 0f
                                                     take Charge    the asset
                                                                        asset transferred    of
                                                                                          or 0f
                                                                              transferred 0r
                       property 0f
                 other property
                 other          of the transferee; or
                                   the transferee; 0r


                 (C) any
                 (C)     other relief
                     any other        the circumstances
                               reliefthe  circumstances    may require
                                                               require.


       Furthermore,         Plaintiff has
       Furthermore, because Plaintiff has already
                                          already obtained   judgment against
                                                  obtained a judgment against Defendant


        Plaintiff requests
Namdar, Plaintiff requests the court to
                           the court t0 order,
                                        order, subject
                                               subject to
                                                       t0 the current or
                                                          the current         existing appeal
                                                                         then existing
                                                                      0r then          appeal

process, execution on
process, execution 0n the asset transferred
                      the asset transferred and its proceeds.
                                                its proceeds.



                                                X.
                                                X.


                                        ATTORNEY F'EES
                                                 FEES

                to §24.013
       Pursuant t0
       Pursuant    $24.013 of the Tex.
                           0fthe       Bus.
                                  Tex. Bus.       & Comm. Code, Plaintiff
                                                    Comm. Code,                          of
                                                                          seeks an award of
                                                                Plaintiff seeks


costs and reasonable
costs                attorneys' fees
          reasonable attorneys’ fees.



                                                XI.
                                                XL

                                REQUEST FOR DISCLOSURE

        Defendant Marjaneh, with fifty
                  Marjaneh, with ﬁfty (50)  days
                                       (50) days        after service
                                                        after service   of this
                                                                        0f this Petition,
                                                                                Petition, is
                                                                                          is requested



to
t0 furnish   the
   furnish the information
               information       and
                                 and material
                                     material described
                                              described     in Texas
                                                            in Texas Rules of Civil
                                                                     Rules 0f Civil        Procedure

190.2(6) and 194.2.
190.2(6) and 194.2



Plaintiff
Plaintiff’ss First         Petition — Page 7
                   Amended Petition
             First Amended
                                    -Page
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                                                  XII.
                                                  XHO


                                                PRAYER

         Wherefore Premises Considered, Plaintiff
                   Premises Consideredﬁ Plaintiff prays
                                                  prays that
                                                        that the Defendant Marjaneh be
                                                             ths Defendant


Cited  to
cited t0 appear
         appear       and answer herein
                      and               and that
                                 herein and that upon final hearing
                                                 upon ﬁnal  hearing hereof Plaintiff Obtain
                                                                    hereof Plaintiff obtain a

judgment against
judgment against Defendants voiding the transfers
                            voiding the transfers and,
                                                  and, subject
                                                       subject                to current
                                                                              t0 current or then existing
                                                                                         0r then existing


       rights, this
appeal rights, this Court grant other
                    Court grant other relief such as
                                      relief such                execution or
                                                     attachment, execution
                                                  as attachment,           0r other general
                                                                              other general


or equitable relief
0r equitable relief to
                    t0 which Plaintiff may show
                       which Plaintiff     show itself justly entitled
                                                itselfjustly           and for
                                                              entitled and           it
                                                                               which it
                                                                           for which                 will
                                                                                                     will


ever pray.
     pray.



                                                 Respectfully
                                                 Respectfully submitted,
                                                              submitted,


                                                 GLAST, PHILLPS
                                                        PHILLIPS & MURRAY, P.C.
                                                                           PC.


                                         By                 ',,túørÃ, C. lEnocfr
                                         By:             /s
                                                         /s Waré C.      Enocﬁ
                                                 Mark C. Enoch
                                                 State Bar No.
                                                 State     N0. 06630360
                                                 Matthew K.K. Enoch
                                                           No, 24065203
                                                 State Bar N0.
                                                 State
                                                 14801  Quorum Drive
                                                 14801 Quorum    Drive
                                                 Suite 500
                                                 Suite
                                                 Dallas, Texas 775254-1449
                                                 Dallas, Texas   5254-1449
                                                 fly63rc@verizon.net
                                                 ﬂ_y63rc@verizon.net
                                                 mkenoch@.spm-law.com
                                                 mkenoch@gpm-law.com

                                                 Telephone:       (972) 4 1 9-8300
                                                                  (972)419=8300
                                                 Facsimile:
                                                 Facsimile:       (972) 4te-832e
                                                                  (972)419-8329

                                                ATTORNEYS FOR PLAINTIFF
                                                ATTORNEYS




Plaintifls
Plaintiff’s First
            First           Petition — Page
                    Amended Petition-  Page 8
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                                 CERTIFICATE OF SERVICE
                                 CERTIFICATE
        I hereby
        I        certify that
          hereby certify that 0n
                              on this
                                 this 61h      of November,
                                          day 0f
                                      6th day     November, 2019,   the foregoing
                                                              2019, the               sent via
                                                                        foregoing was sent Via
the efile.txcourts.gov's e—service
the eﬁle.txcourts.g0v’s   e-seryice system
                                    system to       following:
                                                the following:
                                             t0 the


        WILLIAM L.
        WILLIAM L. SIEGEL
        SIM ISRAELOFF
        COWLES & THOMPSON,
                 THOMPSON,                P.C.
                                          P.C.
        901 Main Street,
        901       Street, Suite
                          Suite 3900
        Dallas,
        Dallas, Texas 75202




                                                          /s/
                                                           s tul-ørk c.lEnocñ
                                                              WlarE C.  Enocﬁ
                                                    Mark C.
                                                         C. Enoch




Plaintiffls
Plaintist First
            First Amended Petition
                          Petition
                                     - Page 9
                                     ~—
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    i&

                                                                        DC- ç" {tøfff1




         GLAST, PHILLPS
                PHILLIPS & MURRAY, P.C.
                                   ?.C.                                                    $                              IN THE
                                                                                                                          IN       DISTRICT COURT
                                                                                                                                            COTIRT
         Plaíntiff
         Plaintiff                                                                        $
                                                                                          $
         v
         V.
                                                                                          $
                                                                                         $
         IrossEIN s. NAMDARKHAN
         HOSSEIN S.                (À/IfA
                     NAMDARKITAN (A/K/A                                                  $
         SHAWN NAMDARKHAN      A/IIA
                 NAMDARKHAN A/K/A                                                        $
         SHAWN
         STIAWN NAMDAR) & BARDIA                                                         $
         NAMDARKHAN
         NAMDARKHAN (A/K/A
                        (AÆgA BRAD                                                       $
         NAMDARKHAN A/K/A
         NAMDARKHAN     A/TIA BRAD NAMDAR)                                               $
         D efe n d a n t s/ C o u n t e r - P I aî n tíffs/T h ì r d
         Defendunts/Counter—Plaintiﬂls/Third                                           $                                  I93'd JUDICIAL DISTRICT
                                                                                                                          193m JUDTCIAL
             Party Plaìntílfs
             Party Plaintiffs                                                          $
                                                                                    mmwammmmmw>mwmmmmwwwmmmmm




                                                                                       $
         v.
         V.
                                                                                      $
                                                                                      $
         GLAST, PHILLIPS & MURRAY, P.C.                                               $
         Counter Defendant
         Counter Defendant                                                            g
                                                                                      $
         v
         v.
                                                                                      $
                                                                                      $
         MARK C.
         MARK   C. ENOCH, MARK C.
                               C. ENOCH,                                             $
                   MATTHEW ENOCH,
         P.C. AND MATTHE\ry                                                          $
         Third Party
         Third Pørty Defendants
                     Defendants                                                      $                                    DALLAS COUNTY,
                                                                                                                                 COUNTY, TEXAS

                                                          FINAL CORRECTED JUDGMENT
                                                                          J,UDGMENT

                     This Final Corrected
                     This Final Corrected Judgment
                                          Judgment supercedes
                                                   supersedes and replaces the
                                                              and replaces     Final Judgment
                                                                           the Final Judgment entered
                                                                                              entered in
                                                                                                      in
         this
         this         on April
                 ease 0n
                 case    April !3, 2018.
                               13, 2018.



                              20,2018
                   On March 20,  201 8 came t0  to be heard the
                                                             the above-styled        for trial.
                                                                  above—styled cause for        All parties,
                                                                                         trial. A11                by
                                                                                                    parties, each by
         and            Counsel, appeared for
               through Counsel,
         and through                               trial. A
                                              for trial.  Ajury   having been requested,
                                                            jury having        requested, at
                                                                                           at the conclusion ofthe
                                                                                              the conclusion   of the
         trial(s), various
         trial(s), various issues 0f fact '\¡/ere
                                  of fact were presented
                                                  presented to   the jury,
                                                              to the       having been previously
                                                                     jury, having       previously empaneled and
         swom,
         sworn,      who retumed
                         returned verdicts.'
                                  verdicts.l


                     Based upon
                     Based        the verdict
                           upon the           of the
                                      verdict of the                        jury, and
                                                                            jury, and the Court’s previous
                                                                                      the Court's          rulings, the
                                                                                                  previous mlings,  the Court
                                                                                                                        Court hereby
         RENDERS             following:
                         the following:
                         the


         A.
         A.          Plaintiff
                     Plaintif Glast,  Phillips & Murray,
                               Glast, Phiilips             ?.C. (hereinafter
                                                 Murray, P.C.                "GPM") have
                                                                (hereinafter “GPfx/I“) have and
                                                                                            and recover, jointly
                                                                                                recover, jointiy
                     and severally,
                     and            from Defendants Hossein S.
                         severally, from                       S. Namdarkhan (alkla
                                                                                (aJk/a Shawn Namdarkhan a/k/a
                                                                                                           a/k/a
                     Shawn Namdar)
                     Shawn              (hereinafter. o'Shawn
                              Namdar) (hereinafter‘            Namdar") &
                                                      “Shawn Namdar”)         Bardia Namdarkhan
                                                                           & Bardia                 (a/k/a Brad
                                                                                       Namdarkhan (a/k/a

         1
         1
             The court
             The court bifurcated
                       bifurcated the
                                  the issues concerning
                                      issues concerning                 liability 0n
                                                                        liability on the underlying breach of
                                                                                     the u.nderlying          contract claim
                                                                                                           0f contract Claim and
                                                                                                                             and the
                                                                                                                                 the issue of
                                                                                                                                     issue of
         attorneys' fees
         attorneys”      for pursuing
                    fees for pursuing such claim.
                                           ciaim.



                                                                                    EXHIBIT
                                                                       3
                                                                       0
                                                                       od
                                                                                            A
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              Namdarkhan alWa  Brad Namdar) (hereinaftsr,
                         a/k/a Brad          (hereinafter, "Brad  Namdar"), judgment in
                                                           “Brad Namdar").judgment        the principal
                                                                                       in the principal
              sum of Seventy
              sum of          Thousand Dollars
                     Seventy Thousand   Dollars and  Eighty Six Cenrs
                                                and Eighty    Six        ($70,000.86), together
                                                                   Cents ($70,000.86),   together with
                                                                                                   with
              prejudgment (simple)
              prejudgment           interest 0n
                          (simple) interest  on the  aforementioned sum at
                                                 the aforementioned       at the      of 5.00% per
                                                                                 rate of
                                                                             the rate                 (mnum
                                                                                                 per annum
              accruing from
              accruing       January 25, 2016
                       from January25,     2016 through    April 12,
                                                  through April  12, 20lB;
                                                                     2018; together    with post—judgmem
                                                                            together with    post-judgment
              (compound) interest
              (compound)  interest on   the aforementioned
                                    0n the   aforementioned combined
                                                              combined sum      (viz., principal
                                                                         sum (viz,     pnncipal sum?
                                                                                                  sum, plus
                                                                                                        plus
              prejudgment interest) at the
                          interest) at the rate of 5.00% per
                                           rate 0f        per annum   accruing from April
                                                              annum accruing           April 13,  201 8 until
                                                                                              13, 2018  until
              the judgment is
              thejudgmcnt  is satisﬁed  in
                              satisfied in   full.
                                             full.



        B     Plaintiff
              Plaintiff   GPM have
                              have and recover, jointly and
                                       recover, jointly     severally, from
                                                        and severally,            Defendants Shawn Namdar
                                                                                  Defendants
              & Brad
                Brad Namdar past
                            past attorneys‘
                                 attomeyso           fees in the
                                                     fees in            of One Million
                                                             the amount 0f     Million Two Hundred Seventy
              Three Thousand Ninety
              Tluee Thousand              Dollars ($1,273,097.00);
                             Ninety Seven Dollars ($1 273,097.00);


        C     Plaintiff
                     GPM have
              Plaintiff   have and recover, jointly and
                                   recoverﬂ jointly      severally, from Defendants
                                                     and severally,       Defendants Shawn Namdar
              & Brad
              & Brad Namdar (cumulatively), the
                     Namdar (cumulatively),  the following
                                                 following future
                                                             future attomeys
                                                                    attorneys fees contingent on
                                                                              fees contingent on the
                                                                                                 the
              following events:
              following events:

              I
              1.                   Dollars ($10,000.00)
                     Ten Thousand Dollars  ($10,000.00) in  in the
                                                               the event
                                                                   event aa Defendant files a
                                                                            Defendant ﬁles  a Motion for
                                                                                                      for
                         Trial which
                     New Trial which does not
                                          not result in aa reversal
                                              result in                the judgment
                                                                    of the
                                                           reversal 0f     judgment rendered herein;
                                                                                              herein;


              2.
              2.      sixty
                      SixtyThousand Dollars
                           Thousand  Dollars ($60,0û0.00)
                                             ($60,000.00) in
                                                           in the
                                                              the event
                                                                  event a a Defendant flrles
                                                                                        ﬁles an Appeal in
                                                                                             an Appeal in
                     the
                     the Court of Appeals which does not
                         Court of                     not result in aa reversal
                                                          result in    reversal of the judgment
                                                                                0f the judgment rendered
                     herein;
                     herein;


              J
              U)
                     Fifteen  Thousand Dollars
                     Fifteen Thousand   Dollars ($15,000.00)
                                                ($15,000.00) inin the  evenr a
                                                                  the event    Defendanr seeks
                                                                             a Defendant          review
                                                                                           seeks review
                     before the Texas
                     before  the Texas Supreme   court, requiring
                                       supreme Caun,    requiring aa Response   from PlaintifTs,
                                                                      Response from              and the
                                                                                     Plaintiffs, and  the
                     Texas Supreme Court declines to address the
                                         declines t0         the case on the merits;
                                                                      0n the merits;


             4.
             4.      Twenty Thousand
                              Thousand Dollars
                                          Dollars ($20,000.00)
                                                   ($20,000.00) inin the event aa Defendant
                                                                     the event    Defendant seeks      review
                                                                                              seeks aa review
                     before the
                     before the Texas   Supreme   Court,  which requires
                                                  Courr, which   requires briefing     the merits
                                                                          brieﬁng on the          of the case
                                                                                           merits 0fthe
                     & does not  result in
                             not result in a reversal of
                                           a reversal        judgment rendered
                                                      of the judgment   rendered herein;
                                                                                  herein;

              5
              3‘     FiÍteen Thousand Dollars
                     Fifteen Thousand  Dollars ($15,000.00)  in the
                                               ($15,000.00) in      event a
                                                                the event    Defendant seeks
                                                                           a Defendant        review
                                                                                       seeks review
                     before the
                     before     Texas Supreme Court,
                            the Texas                 which requires
                                               Court, which          oral argument & does
                                                            requires oral                    &
                                                                                      does not
                                                                                           not result
                                                                                               result
                     in
                     in a
                        a reversal of the judgment
                          reversal ofthe  judgment rendered herein;
                                                            herein;


        D.           GPM have
             Plaintiff
             Plaintiff   have and recover,   jointly and
                                    recover, jointly     severally, from Defendants
                                                     and severally,      Defendants              Shawn Namdar
             & Brad Namdar all taxable Court
                           all taxable Court costs;
                                             costs;

        E.   Plaintiff
             Plaintiff    GPM have  and recover,
                              have and              jointly and
                                          recover, jointly  and severally,  from Defendants
                                                                 severally, from   Defendants Shawn
                                                                                                Shawn Namdar
              & Brad Namdar post-judgment
                                 post-judgment (compound)
                                                  (eompound) interest
                                                                interest on the            listed in
                                                                                  amounts listed
                                                                             the amounts             Sections B
                                                                                                  in Sections
              &
              &. D,
                 D. supra,  at the
                    supra, at   the rate  of 5.00%
                                    rate 0f   5.00% per    annum, accruing
                                                      per armum,               from April
                                                                    accruing from    April 13,  2018 until
                                                                                            I3, 2018         this
                                                                                                       until this
             judgment is
             judgment   is satisﬁed
                           satisfied in full.
                                     in full.

        F    Plaintiff GPM have
             Plaintiff               recover, jointly
                           have and recover?               severally, from
                                                      and severally,
                                              jointly and             from Defendants
                                                                            Defendants Shawn Namdar
             & Brad Namdar poshjudgment
                             post-judgment (compound)
                                             (compound) interest   on the
                                                          interest 0n  the amounts        in Section
                                                                                   listed in
                                                                           amounts listed    Section C,
                                                                                                     C,
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                    szzp/a  if
                    supra, if such
                              such  amounts be
                                    amounts       awarded, at
                                              be awarded,     the rate
                                                           at the       of 5.
                                                                  rate 0f     00/o per
                                                                           5.A0%    per annutn,
                                                                                        annum accruing   from the
                                                                                                accruing from the
                    following
                    fellowing dates.      until this
                               dates, and until      judgment ls
                                                this judgment is satisfied in full.
                                                                 satisﬁed 1n  full.




                    l.
                    1.      From   the
                                   the   date
                                         date   the Motion for
                                                the Motion           Trial is
                                                             for New Trial     filed;
                                                                            is ﬁled;
                    2.
                    2.      From   the
                                   the   date   the Notice oprpeal
                                                the Notice  of Appeal is
                                                                      is hled;
                                                                         ﬁled;
                    3.
                    3.      From   the
                                   the   date
                                         date   the Petition
                                                the          for Review is
                                                    Petition for         is filed;
                                                                            ﬁled;
                    4.
                    4,      From   the
                                   the   date   the
                                                the Supreme Court indicates     that briefing
                                                                    indicates that              the merits
                                                                                     brieﬁng on the          is required;
                                                                                                     merits is  required;
                    5.
                    5.      From   the   date   the
                                                the Supreme Court indicates     that oral
                                                                    indicates that   oral argument  is required;
                                                                                          argument is  required;


        G
        G.          Based upon
                    Based  upon the   Court's previous
                                 the Court’s   previous rulings      various Motions for
                                                                  on various
                                                         rulings 0n                   for Summary Judgment,
                                                                                                    Judgment.
                    which the
                    which  the Court   incorporates herein,
                               Coun incorporates     herein, Defendants
                                                             Defendants Shawn    Namdar & Brad
                                                                          Shawn Namdar      Brad Namdar   take
                                                                                                 Namdar take
                    nothing on
                    nothing     all their
                            0n all        claims for
                                    their Claims     relief against
                                                 for relief         Plaintiff GPM, and Third
                                                            against Plaintiff          Third Party
                                                                                             Party Defendants
                                                                                                   Defendants
                    Mark C.  Enoch, Mark C.
                          C, Enoch.                    P.C. and Matthew
                                            C. Enoch, PC.        Matthew Enoch.
                                                                           Enoch

        H
        H.          The Coun    hereby DENIES all
                         Court hereby         all outstanding Motions for
                                                  outstanding Motions     Sanctions, not
                                                                      for Sanctions,     already ruled
                                                                                     not already ruled upon
                       of'this date.
                    as ofthis
                    as         date.

        I.
        >—<
                    The Court
                         Coun hereby  DENIES Plaintiff
                               hereby DENIES? ‘aintiff GPM
                                                       CPM'ss reques  for relief
                                                              request for relief for
                                                                                 foraattorneys' fees pursuant
                                                                                      ttomeys’ fees  pursuant
                    to Texas Business & Commerce
                    t0                  Commerce Code §17.
                                                        917.50(c).
                                                            50(0)


                    All writs and process
                    A11 writs and                 for
                                              enforcement and
                                  process for enforcement     collection 0f this
                                                          and collection    this      of       judgment may
                                                                                               judgment may issue
                                                                                                            issue as
        necessary.
        necessary,


                      All relief
                      A11 relief not
                                 not granted
                                     granted herein is hereby
                                             herein is        DENIED. This
                                                       hereby DENIED. This is   ﬁnal judgment
                                                                              a final
                                                                           is a       judgment that          of
                                                                                               that disposes 0f
              allparties       claims.
              all parties and claims.




                           theW
                    SIGNED me if: day of April,2018.
                                  day oprru,    2018.




                                                                   //‘7
                                                                /The/        Honorable  Carl Ginsberg
                                                                             Honmable Carl    G insberg
                                                            ;            193d Judicial District
                                                                         193d Judirial          Court
                                                                                       DismctCourt
